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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

JEFFREY JAY,

                               Plaintiff,

-vs-                                                            Case No. 6:11-cv-211-Orl-19DAB

NCSPLUS INC.,

                        Defendant.
______________________________________

                                             ORDER

       This case comes before the Court on the Notice of Voluntary Dismissal with Prejudice by

Plaintiff Jeffrey Jay. (Doc. No. 7, filed Mar. 9, 2011.) On February 24, 2011, Plaintiff filed a Notice

of Settlement informing the Court that the parties settled the case. (Doc. No. 5.) On February 25,

2011, the Court entered an order dismissing the case, subject to the right of any party to, inter alia,

submit a notice of voluntary dismissal with prejudice. (Doc. No. 6.)

       On March 9, 2011, Plaintiff filed a Notice of Voluntary Dismissal With Prejudice and

requested that the Court reserve jurisdiction for forty-five days to enforce the terms of the parties’

settlement agreement. (Doc. No. 7.) Forty-five days have passed since the date of filing of the

Notice of Voluntary Dismissal With Prejudice, and no party has moved to enforce the settlement

agreement or for any other relief. Accordingly, this case will be dismissed with prejudice.

                                             Conclusion

       Based on the foregoing, it is ORDERED and ADJUDGED that this case is DISMISSED

with prejudice.

       DONE and ORDERED in Chambers in Orlando, Florida on April 27, 2011.
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Copies furnished to:

Counsel of Record




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